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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                       BK−19−10678−abl
                                                              CHAPTER 11
 PHILIP ANDREW ROY ,
                                   Debtor(s)
                                                              Adversary Proceeding: 19−01050−abl


 PHILIP ANDREW ROY                                            SUMMONS AND
                                   Plaintiff(s)               NOTICE OF SCHEDULING
                                                              CONFERENCE IN AN ADVERSARY
 vs                                                           PROCEEDING

 US BANK NATIONAL ASSOCIATION                                 Hearing Date: September 24, 2019
 NATIONAL DEFAULT SERVICING CORPORATION                       Hearing Time: 10:00 AM
 FIVE STAR PARTNERSHIP, LLC
 LAWYERS TITLE OF NEVADA, INC.
                          Defendant(s)




To each Defendant listed above, YOU ARE SUMMONED and required to submit a motion or answer to the
complaint which is attached to this summons to the Clerk of the Bankruptcy Court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall submit a motion or answer
to the complaint within 35 days.



Address of the Clerk:

                                            Clerk, U.S. Bankruptcy Court
                                             300 Las Vegas Blvd., South
                                               Las Vegas, NV 89101
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At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:

                                             H STAN JOHNSON
                                  COHEN JOHNSON PARKER EDWARDS, LLC
                                     375 E. WARM SPRINGS RD, STE 104
                                            LAS VEGAS, NV 89119
                                               (702) 823−3500



If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


YOU ARE NOTIFIED that a scheduling conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place.



              Hearing Date:           September 24, 2019
              Hearing Time:           10:00 AM
              Hearing Location:       ABL−Courtroom 1, Foley Federal Bldg
                                      300 Las Vegas Blvd South,
                                      Las Vegas, NV 89101



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: May 17, 2019



                                                           Mary A. Schott
                                                           Clerk of Court
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                                   CERTIFICATE OF SERVICE

IN RE:                                                         BK−19−10678−abl
                                                               CHAPTER 11
PHILIP ANDREW ROY ,
                                   Debtor(s)
                                                               Adversary Proceeding: 19−01050−abl


PHILIP ANDREW ROY, et al,                                      COMPLAINT, SUMMONS
                                   Plaintiff(s)                STANDARD DISCOVERY PLAN AND
                                                               SCHEDULING ORDER PACKET
vs
                                                               Hearing Date: September 24, 2019
US BANK NATIONAL ASSOCIATION                                   Hearing Time: 10:00 AM
NATIONAL DEFAULT SERVICING CORPORATION
FIVE STAR PARTNERSHIP, LLC
LAWYERS TITLE OF NEVADA, INC., et al,
                         Defendant(s)




I, __________________________, certify that I am at least 18 years old and not a party to the matter concerning
                (name)
which service of process was made. I further certify that the service of this summons and a copy of the complaint
along with the Standard Discovery Plan and Scheduling Order packet, as required by Local Rule 7016(b), was made
on ________________________
                (date)

by:

            Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:



            Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:



            Residence Service: By leaving the process with the following adult at:



            Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
            addressed to the following officer of the defendant at:



            Publication: The defendant was served as follows: (Describe briefly)



            State Law: The defendant was served pursuant to the laws of the State of __________________,
            as follows: (Describe briefly)                                              (name of state)
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Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: _______________________                               Signature:________________________


Print Name: ________________________________________________________________

Business Address:___________________________________________________________

City: __________________________ State: ________________ Zip: ______________
